Case 2:05-cr-20135-BBD Document 19 Filed 07/22/05 Page 1 of 2 Page|D 25

F“-E° EW@_.__ n.c.
iN THE uNlTEo sTATEs olsTRlcT couRT
FoR THE WEsTERN olsTRlcT oF TENNESSE[E JUL 22 PH h= 06
WEsTERN DlvlsloN

 

, 115wa
uNlTED sTATEs oF AMERch ll GF r,-‘~l. sellers

P|aintiff

VS.
CR. NO. 05-20135-D

CONRAD R. N|CEACHERN

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a gport date of Thursdav. August 2_5,_2005. at 9:00 a.m.. in Courtroom 3. 9th F|oor of
the Federa| Bui|ding, Memphis, TN.

The period from August12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT lS SO ORDERED this QZ§ day Of Ju|y, 2005.

§RN|CE B. §ONALD

UN|TED STATES D|STR|CT JUDGE

Thls document entered on the dockets t `
with Fiule 55 and/or 32(b) FHCrP on lYS

   

UNITED sATE DISTRICT COURT - WETERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20135 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Dan Newsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

